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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


JULIE WINTERS,                                    CV 20-114-BLG-TJC

                    Plaintiff,
                                                  ORDER OF DISMISSAL
vs.                                               WITH PREJUDICE

UNITED FINANCIAL CASUALTY
COMPANY,

                    Defendant.


      Pursuant to the parties’ Stipulation for Dismissal With Prejudice (Doc. 24),

and good cause appearing,

      IT IS HEREBY ORDERED that this action is dismissed with prejudice, with

each party to bear their own attorneys’ fees and costs.

      DATED this 25th day of May, 2021.

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                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge




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